  Case 20-40229       Doc 19  Filed 03/11/20 Entered 03/11/20 14:14:06              Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                  CENTRAL DIVISION

____________________________________
                                    )
In re:                              )                       Chapter 13
                                    )
DAVID J. HOWE                       )                       Case No. 20-40229-CJP
                                    )
                  DEBTOR            )
____________________________________)


        DEBTOR'S MOTION FOR ORDER EXTENDING TIME TO FILE
   SCHEDULES A/B-J, FORM 106SUM, FORM 106DEC, FORM 107, FORM 122C-1,
                  FORM 122C-2, AND CHAPTER 13 PLAN


         David J. Howe, the above-captioned Debtor (“Debtor”), by and through his undersigned

counsel, having filed a skeleton petition in the above captioned case, hereby moves this Court for

entry of an Order granting a seven (7) day extension of time until 5:00 P.M. on March 19, 2020

to file his Schedules A/B-J, Form 106Sum, Form 106Dec, Form 107,Form 122C-1, Form 122C-

2, and Chapter 13 Plan. The Debtor filed a skeletal petition on February 13, 2020 to forestall a

foreclosure of his residence. A Motion to Extend the Time to File Schedules was filed, which

was approved by the Court and the extended deadline was set to March 12, 2020. The §341

meeting of creditors is scheduled for March 27, 2020 at 9:30 a.m..

         This is the second extension requested. The Debtor has gathering most of the required

documentation, but needs the additional time to gather the remaining required information and

documentation and Debtor’s counsel expects to have all needed information to file said

documents by or before the above extended due date. The Debtor needs the additional time to

gather the more information and documentation (such as copies of retirement/401(k) accounts,

tax returns, life insurance policies, and business records) from multiple third party sources,

which have already been requested. Where the §341 meeting of creditors is scheduled for March
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27, 2020 at 9:30 a.m., no prejudice or harm will come to the estate and/or creditors as a result of

this request.



                                             Respectfully submitted,

                                             DAVID J. HOWE

                                             By his attorney,

                                                     /s/ Richard A. Mestone
                                             Richard A. Mestone (BBO# 642789)
                                             MESTONE & ASSOCIATES LLC
                                             65 Flagship Drive, Suite A
                                             North Andover, MA 01845
                                             Tel: (617) 381-6700
                                             richard.mestone@mestonehogan.com
Dated: March 11, 2020




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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
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____________________________________
                                    )
In re:                              )                          Chapter 13
                                    )
DAVID J. HOWE                       )                          Case No. 20-40229-CJP
                                    )
                  DEBTOR            )
____________________________________)


                                  CERTIFICATE OF SERVICE

         I, Richard A. Mestone, hereby certify that on this day, I electronically filed the Debtor's

Second Motion for Order Extending Time to File Schedules A/B-J, Form 106SUM, Form

106DEC, Form 107, Form 122C-1, Form 122C-2, and Chapter 13 Plan with the United States

Bankruptcy Court for the District of Massachusetts using the CM/ECF system. I have served

true and correct copies of the foregoing document only via CM/ECF upon the United States

Trustee, including the Chapter 13 Trustee, Denise Pappalardo, and individuals who have filed

notices of appearance and requests for notice in the Court’s CM/ECF database.



Date: March 11, 2020                                   /s/ Richard A. Mestone
                                               Richard A. Mestone (BBO# 642789)
                                               MESTONE & ASSOCIATES LLC
                                               65 Flagship Drive, Suite A
                                               North Andover, MA 01845
                                               Tel: (617) 381-6700
                                               richard.mestone@mestonehogan.com




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